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                         3^n t^e tEntteli ^tates^ Btsstrtct Court
                        Jfor t|ie ^otttlliem Btsitrtct of d^eorsia
                                     ^rnnjeeiotck Bttitiefton

              UNITED STATES OF AMERICA,
                                                            CIVIL ACTION NO.: 2:17-cr-40


                   V.



              FLOYD MORRIS,

                        Defendant.



                                                 ORDER


                   After an independent and de novo review of the entire

              record, the undersigned concurs with the Magistrate Judge's

              Report and Recommendation, dkt. no. 237, to which Defendant

              Floyd Morris did not file any Objections.

                   Accordingly, the $50,000 surety bond posted in this case is

              FORFEITED.   However, the Court SETS ASIDE the entire $50,000 and

              EXONERATES the surety's bonc^.

                   SO ORDERED, this               d^y of\    AjKZVAJ          / 2018.




                                          HON.   LIS^ GODBEY WOOD, JUDGE
                                          UNIT     ^ATES DISTRICT COURT
                                          SCUT       DISTRICT OF GEORGIA




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(Rev. 8/82)
